  Case 14-35173       Doc 37   Filed 02/04/15 Entered 02/05/15 09:21:26                Desc Main
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                        )               BK No.:     14-35173
Rafal and Katarzyna Zielinski                 )
                                              )               Chapter: 13
                                              )
                                                              Honorable Jack Schmetterer
                                              )
                                              )
               Debtor(s)                      )

    ORDER DETERMINING VALUE OF CLAIM SECURED BY LIEN (CRYSTAL LAKE)

       This cause coming before the court on the motion of Rafal and Katarzyna Zielinski (the
"Debtors") to determine the value of Chase's claim, which purports to be secured by a lien, all parties
having been given notice thereof, and the Court being duly advised,

  IT IS HEREBY ORDERED BY THE COURT that:
  1. The Debtors own certain real estate commonly known as 439 Berkshire Drive, Unit 26 in Crystal
Lake, Illinois (the “Crystal Lake Property”) which they utilize as an investment/rental property., PIN:
19-07-280-052, valued at $66,000.

  2. JPMorgan Chase Bank, N.A. ("Chase") holds a mortgage lien on the Crystal Lake Property with an
outstanding balance of $89,727.58.

  3. Chase's secured claim is valued at $66,000 and the remaining balance of its claim is unsecured,
and shall be paid with an annual percentage rate of 5.00%.

  4. The Debtors' were previously discharged of their personal liability on Chase's claim in Case No.:
12-10126 and therefore the unsecured portion of Chase's claim is unenforceable and valued at $0.00.

   5. Chase shall retain its lien until the filing of a Notice of Completion of Plan Payments by Chapter
13 Trustee, Tom Vaughn, a copy of which, together with a copy of this order shall be recordable as a
release of Chase's lien.

                                                           Enter:


                                                                    Honorable Jack B. Schmetterer
Dated: February 04, 2015                                            United States Bankruptcy Judge

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